      Case 6:23-cv-01179-DDC-BGS Document 1 Filed 08/30/23 Page 1 of 19




                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


DEBBIE K. “DEB” GRUVER,                   |
                                          |
                            Plaintiff,    |
                                          |
vs.                                       |
                                          | Case No.
CHIEF GIDEON CODY,                        |
MARION, KANSAS POLICE DEPARTMENT, |
in his individual capacity,               |
                                          |
                            Defendant.    |
__________________________________________|

                                        COMPLAINT

       COMES NOW the plaintiff, DEBBIE K. “DEB” GRUVER, through her undersigned

counsel of record, and in support of her claims against the defendant, CHIEF GIDEON CODY,

MARION, KANSAS POLICE DEPARTMENT, in his individual capacity, hereby states and

alleges as follows:

                                      INTRODUCTION

       1.      This action arises from a shocking, unprecedented and unconstitutional police raid

in Marion, Kansas, a small Kansas town of approximately 1,900 citizens. Targeted in the Friday,

August 11, 2023, raid were the offices and personnel of the local newspaper, the Marion County

Record.

       2.      Separately targeted by police during the August 11 raids were two other nearby

homes: (1) the home of the paper’s co-owner and publisher, Eric Meyer, and the paper’s 98-year-

old co-owner – Eric’s mother, Joan Meyer; and (2) the home of the city’s Vice-Mayor, Ruth

Herbel. Joan Meyer died the following day at 2:53 p.m. of sudden cardiac arrest.




                                               1
      Case 6:23-cv-01179-DDC-BGS Document 1 Filed 08/30/23 Page 2 of 19




       3.      On August 11, Chief Gideon Cody of the Marion Police Department obtained and

executed on three search warrants for a newspaper’s offices and two private homes ostensibly

because a previously identified Record reporter, Phyllis Zorn, had accessed a local citizen’s driving

records from a public website, culminating in the seizure of 18 items including computer towers,

a server tower, personal cellular phones, laptops, a router and an external hard drive.

       4.      Marion County Record reporter Deb Gruver, whose personal cellular phone was

snatched away by Chief Cody during the raid on the Record’s offices, now seeks justice and

accountability under 42 U.S.C. § 1983 for Chief Cody’s malicious and recklessly indifferent

violation of her rights under the First and Fourth Amendments of the United States Constitution.

                                    STATEMENT OF FACTS

       Plaintiff hereby adopts by reference paragraphs one through four (1-4) inclusive, and, in

addition, further states and alleges:

                                        Lead-Up to the Raid

       5.      Deb Gruver is an award-winning journalist who began working as a Staff Writer

with the Marion County Record in 2022 under Eric Meyer, the paper’s co-owner and publisher.

The Record is a weekly newspaper with offices located directly across the street from the Marion

County District Courthouse.

       6.      In August 2022, Ms. Gruver was new to town and sought out popular local

establishments for review. She ended up dining at the Parlour 1886 restaurant inside the Historic

Elgin Hotel and wrote a glowing review, complimenting chef Kari Newell’s spatchcock chicken

with whole new potatoes and asparagus, followed by the “Death by Chocolate” cake for dessert.

Chef Newell “outdid herself,” Gruver wrote.




                                                 2
      Case 6:23-cv-01179-DDC-BGS Document 1 Filed 08/30/23 Page 3 of 19




       7.      On February 1, 2023, chef Newell took over ownership of the restaurant, changing

the name to Chef’s Plate at Parlour 1886. The restaurant remained within the Historic Elgin Hotel,

which was owned and operated by Tammy Ensey along with her husband, Jeremy.

       8.      Ms. Gruver and Ms. Newell maintained a friendly relationship until late April 2023,

around the time of Chief Cody’s hiring, when the relationship broke down. Ms. Newell criticized

Ms. Gruver’s reporting and complained about her talking to “sources” while inside the restaurant

– apparently after overhearing a telephone call.

       9.      “I’m not the one [to mess with],” Ms. Newell told Ms. Gruver in a contentious text

exchange.

       10.     In June 2023, Ms. Newell opened a coffee shop, Kari’s Kitchen, directly across the

street from the Elgin Hotel.

       11.     By June 2023, Ms. Newell’s two restaurants, the offices of the Marion County

Record and the Marion Police Department were all located within blocks of each other near

downtown Marion.

       12.      Meanwhile, on April 21, 2023, the Record confirmed that Gideon Cody had

accepted a job offer from Marion Mayor David Mayfield to become the new Chief of the Marion

Police Department. Chief Cody came to Marion after 24 years with the Kansas City, Missouri

Police Department, where he had most recently served as a Captain.

       13.     In mid-to-late April 2023, around the time of Chief Cody’s application for the job,

the Marion County Record began investigating various allegations of misconduct against Cody,

based on anonymous sources who had worked with Cody in Kansas City but declined to go on

record with their claims.




                                                   3
        Case 6:23-cv-01179-DDC-BGS Document 1 Filed 08/30/23 Page 4 of 19




        14.    The Record could not obtain Cody’s personnel file from the KCMO police

department to independently verify the allegations, so it did not publish the story at the time.

        15.    Cody, however, was aware of the Record’s investigation into his prior misconduct.

        16.    Specifically, Cody was aware that Ms. Gruver was the one conducting the

investigation, having discussed the investigation with her around the time of his hiring in April

2023.

        17.    On August 1, 2023, Kari’s Kitchen hosted a public meet-and-greet event with

United States Representative Jake LaTurner (R, 2 nd Dist.), whose constituents as a congressman

included the citizens of Marion.

        18.    Three of the five members of the Marion County Board of County Commissioners

were present at the public event.

        19.    Mr. Meyer and a Record reporter, Phyllis Zorn, attended the event and were in line

attempting to buy coffee when Chief Cody approached them and advised that Ms. Newell had

asked them to leave.

        20.    Newell later confirmed to reporters that she had asked Meyer and his reporter, Zorn,

to leave, because she believed the newspaper “has a long-standing reputation for twisting and

contorting comments within our community.”

        21.    Mr. Meyer wrote and published a story about Ms. Newell which was published on

Wednesday, August 9, 2023.

        22.    The story, titled “Restaurateur accuses paper, councilwoman 1” states that Ms.

Newell appeared before the Marion City Council less than one week after ejecting Record reporters



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http://peabodykansas.com/direct/restaurateur_accuses_paper_councilwoman+5447newell+52657374617572617465
757220616363757365732070617065722c20636f756e63696c776f6d616e (accessed August 22, 2023).

                                                   4
       Case 6:23-cv-01179-DDC-BGS Document 1 Filed 08/30/23 Page 5 of 19




from Congressman LaTurner’s reception and accused the Record of illegally obtaining drunken-

driving information about her and then providing it to a city council member, Vice-Mayor Herbel.

        23.     The story further stated that the Record and Vice-Mayor Herbel had both separately

received information from a confidential source indicating that Ms. Newell’s license had been

suspended in 2008 due to a drunken-driving conviction and other driving infractions.

        24.     The story further stated that Ms. Newell had confirmed to the Record directly after

the council meeting in a discussion she initiated that the information was accurate.

        25.     The story further stated that the Record had separately verified the information was

accurate and had been obtained from a public website but had nevertheless decided against

publishing the story.

        26.     In fact, Record reporter Phyllis Zorn had confirmed the accuracy of this information

– which she had originally received from a local resident, Pam Magg, via a screenshot sent through

Facebook – on the public Kansas Department of Revenue Driver’s License Check website.

        27.     After receiving the screenshot and seeking to independently verify the information,

Ms. Zorn had reached out to the Department of Revenue to ask how to obtain the information, and

they directed her to the same link she ultimately utilized.

        28.     Kansas Department of Revenue spokesperson Zack Denney would later confirm to

news outlets that the online search was legal. “The website is public-facing, and anyone can use

it,” he said.

        29.     The federal Driver’s Privacy Protection Act, 18 U.S.C. 2721 (b)(5), allows access

to information about a person’s driver’s status for research activities, so long as the personal

information is not published, redisclosed, or used to contact individuals. In this instance, the

information was used to verify the confidential source’s information and was not published.



                                                  5
       Case 6:23-cv-01179-DDC-BGS Document 1 Filed 08/30/23 Page 6 of 19




       30.     Instead of publishing the story, the Record consulted with an attorney and notified

Chief Cody and the Marion County Sheriff that the source had alleged local law enforcement was

aware that Ms. Newell did not have a valid driver’s license and had ignored repeated violations of

driving laws by Ms. Newell. Marion police had apparently notified Ms. Newell of the situation

that past Monday, August 7, 2023.

       31.     According to the story, Ms. Newell also accused Vice-Mayor Herbel of

“negligently and recklessly” sharing her personal information during the council meeting – she

wanted to speak to the council so her colleagues would know “how vile [Herbel’s] behavior can

be.”

       32.     At the time of the city council meeting, Ms. Newell did not have a Kansas liquor

license and the liquor license for her new restaurant, Chef’s Plate at Parlour 1886, was still carried

under the name of the prior owner, Ms. Ensey.

       33.     Ms. Ensey’s liquor license was apparently set to expire later in August.

       34.     The story further stated that during the post-council meeting discussion with the

Record, Ms. Newell also indicated she thought the information had been supplied to the source –

whose identity she speculated about – by her estranged husband as part of an attempt in divorce

proceedings to retain ownership of vehicles on the grounds that she did not possess a license.

                                            The Warrant

       35.     On Friday, August 11, 2023, Chief Cody delivered an Application for Search

Warrant to Marion County District Court Magistrate Judge Laura E. Viar, who had been a

Magistrate Judge since 2022.

       36.     By August 11, Chief Cody had been serving as Marion Police Chief while

knowingly under investigation by Ms. Gruver and the Record for alleged prior misconduct since



                                                  6
         Case 6:23-cv-01179-DDC-BGS Document 1 Filed 08/30/23 Page 7 of 19




the time of his application and hiring, had removed Record personnel from a public meet-and-

greet session with a United States Congressman at the request of a restaurant owner, Ms. Newell,

and had become aware of the Record’s acquisition of public information about Ms. Newell’s past

drunken-driving arrest, which had caused an inflamed response by Ms. Newell – the same person

who had become angry after apparently overhearing Ms. Gruver’s telephonic conversation with a

source in April.

         37.   By August 11, Chief Cody had also directly expressed to reporter Phyllis Zorn his

support for her work – telling her that Eric Meyer and Deb Gruver were the real problem with the

paper.

         38.   Investigation remains ongoing as to whether Marion County Attorney Joel Ensey

had any direct involvement in reviewing, approving and/or presenting the Application.

         39.   In the Affiant’s attestation to the application, Magistrate Judge Viar scratched out

the “Notary” line and verified Chief Cody’s signature as “Magistrate Viar.”

         40.   In the sworn Application, Chief Cody recounted in some detail the recent history

involving the Record’s ouster from Kari’s Kitchen on August 1 and the access of Kari Newell’s

KDOR records on the public website by Record personnel.

         41.   While referencing Pam Maag in the Application, Chief Cody provided no indication

he had ever made the effort to interview Ms. Maag about the situation.

         42.   In the Application, Chief Cody claimed that downloading of the KDOR records

involved “either impersonating the victim or lying about the reasons why the record was being

sought.”

         43.   In the Application, Chief Cody stated that the alleged perpetrator of this alleged

crime was not unknown – it was Record reporter Phyllis Zorn.



                                                7
       Case 6:23-cv-01179-DDC-BGS Document 1 Filed 08/30/23 Page 8 of 19




        44.      In the Application, Chief Cody did not address or acknowledge any federal or state

laws which might preclude his intended search or reflect that Ms. Zorn’s online search was not, in

fact, illegal.

        45.      In the Application, Chief Cody did not assert any specific nexus between plaintiff

Deb Gruver’s personal cellular phone and the alleged crime being investigated – Deb Gruver was

never once mentioned in the nine-page Affidavit, and neither was her personal cellular phone.

        46.      In the Application, Chief Cody did not assert any factual basis for believing that

any Record employee’s cellular phone or device aside from Phyllis Zorn’s could have possibly

been used to access the Kansas Department of Revenue records website.

        47.      Chief Cody did not separately submit an application seeking to search either Ms.

Gruver’s residence or Ms. Zorn’s residence – only the Record’s offices, the publisher’s home and

the Vice-Mayor’s home.

        48.      In the Application and resulting Warrant, Chief Cody sought and was granted

access to “2. Digital Communications devices allowing access to the Internet or to cellular digital

networks which were or have been used to access the Kansas Department of Revenue records

website.” (emphasis added)

        49.      In the Application and resulting Warrant, Chief Cody sought and was granted

access to “3. A computer or digital device that has been used to access the Kansas Department of

Revenue records website.” (emphasis added)

        50.      In the Application and resulting Warrant, Chief Cody sought and was granted

access to “5. Conduct a preview search of all located digital communications devices and digital

storage media to exclude from seizure those which have not been involved in the identity theft,

by use of manual or automated preview tools.” (emphasis added)



                                                 8
      Case 6:23-cv-01179-DDC-BGS Document 1 Filed 08/30/23 Page 9 of 19




       51.      Magistrate Judge Viar executed the Search Warrant at 9:00 a.m. on Friday, August

11, 2023.

                                            The Raid




       52.      The photograph above shows Chief Cody directing and participating in the raid

while his officers seize equipment from the Record’s offices. Ms. Gruver’s desk is shown on the

bottom right.

       53.      After obtaining Magistrate Judge Viar’s signature on the Search Warrant, Chief

Cody ventured across the street to the Record’s offices and spearheaded the raid, with the

assistance of four other Marion Police Department officers and two Sheriff’s Deputies.

       54.      Chief Cody first handed Ms. Gruver the Warrant when he arrived, and as she began

to read it, she began to access her personal cellular phone – telling Chief Cody that she needed to

call Eric Meyer.

       55.      Chief Cody responded by reaching over the papers and snatching the phone out of

her hand.




                                                9
      Case 6:23-cv-01179-DDC-BGS Document 1 Filed 08/30/23 Page 10 of 19




        56.     The personal cellular phone was taken directly from Ms. Gruver’s person and had

not been left in the offices.

        57.     There was no factual basis to believe Ms. Gruver’s personal cellular phone was

evidence of the alleged crime, or any crime.

        58.     Ms. Gruver’s cellular phone was not verified as having “been used to access the

Kansas Department of Revenue records website.”

        59.     Rather than conducting a preview search on site to “exclude from seizure” a

personal cellular phone which had “not been involved in the [alleged] identity theft,” Chief Cody

seized the phone and removed it from the premises along with the other equipment.

        60.     One of the officers also read Ms. Gruver, Ms. Zorn and an office administrator their

Miranda rights while Chief Cody watched, though she was never placed under arrest.

        61.     At Chief Cody’s direction, the law enforcement officers began removing

equipment, including the computer towers of Mr. Meyer, Ms. Zorn and Ms. Gruver, a server tower,

an external drive and the personal cellular phones of Ms. Gruver and Ms. Zorn.

        62.     The raid continued unabated for three-plus hours while Ms. Gruver and the other

Record staff were forced to wait outside in temperatures that had reached 100ºF by 4:00 p.m.

        63.     After leaving the Record’s offices, Chief Cody and his law enforcement team

proceeded to execute the two additional signed warrants at the two private residences – Eric and

Joan Meyer’s and Vice-Mayor Herbel’s – seizing additional equipment at those locations.

        64.     In the below photograph, 98-year-old Joan Meyer is seen speaking with officers

during the August 11, 2023, raid on her home – one day prior to her death from cardiac arrest:




                                                 10
     Case 6:23-cv-01179-DDC-BGS Document 1 Filed 08/30/23 Page 11 of 19




                                            The Aftermath

       65.        Later that day, after Chief Cody’s raid on the Record’s offices was completed, Ms.

Gruver went over to the Marion County Sheriff’s office in an attempt to retrieve her personal

cellular phone.

       66.        Ms. Gruver spoke with Chief Cody inside the office and requested her phone back

– telling Chief Cody she had nothing to do with any search of the driving records.

       67.        “I actually believe you,” Chief Cody replied with a grin.

       68.        The raid ultimately made international news in the days to follow, with Chief

Cody’s behavior being universally questioned by major news outlets, constitutional scholars and

even addressed by the White House Press Secretary in a daily press briefing.

       69.        In the days which followed, Chief Cody remained insistent that his search and

seizure had been lawful. He made the following Facebook post on the Marion, Kansas Police

Department’s page on August 12, 2023, at 10:48 a.m. 2:




2

https://www.facebook.com/story.php?story_fbid=pfbid02g2orRAMmqkGGCeRxMUPL8E5kjL5N3QMJiiejzmSQb
QQbviRKoUGMjYiZZxDsv57TI&id=100064381373990&mibextid=ZbWKwL (accessed August 30, 2023).

                                                  11
     Case 6:23-cv-01179-DDC-BGS Document 1 Filed 08/30/23 Page 12 of 19




                           Marion, Kansas Police Department
                           August 12 at 10:48 AM   0
                   The Marion Kansas Police Department has has several inquiries regarding an ongoing
                   investigation.
                   As much as I would like to give everyone details on a criminal investigation I cannot. I believe
                   when the rest of the story is available to the public , the judicial system that is being questioned
                   will be vindicated.

                    I appreciate all the assistance from all the State and Local investigators along with the entire
                   judicial process thus far.
                   Speaking in generalities, She federal Privacy Protection Act, 42 U.S.C. §§ 2000aa-2000aa-12, does
                   protect joanalists from most searches of newsrooms by federal arid state law enforcement
                   officials. It is true that in most cases, it requires police to use subpoenas, rather than search
                   warrants, to search the premises of journalists unless they themselves are suspects in the offense
                   that is the subject of the search.

                   The Act requires criminal investigators to get a subpoena instead of a search warrant when
                   seeking "work product materials" and "documentary materials" from the press, except in
                   circumstances, including: (1) when there Is reason to believe the journalist is taking part in the
                   underlying wrongdoing.
                   The Marion Kansas Police Department believes it is the fundamental duty of the police is to
                   ensure the safety, security, and well-being of all members of the public. This commitment must
                   remain steadfast and unbiased, unaffected by political or media influences, in order to uphold the
                   principles of justice, equal protection, and the rule of law for everybne in the commCnity. The
                   victim asks that we do all the law allov:s to ensure justice is serveli. The Marion Kansas Police
                   Department will nothie,g less.

                          lift                                                                6-5K eamments 153 shares




       70.     In his post, Chief Cody acknowledged that he had been aware of the “Privacy

Protection Act of 1980,” found at 42 U.S.C. § 2000aa et seq., which requires in most situations

that law enforcement seek to obtain material from journalists through a subpoena, rather than

through a surprise search conducted with a warrant.

       71.     Chief Cody claimed an exception to the statute, however, which applies when

“there is probable cause to believe that the person possessing such materials has committed or is

committing the criminal offense to which the materials relate.” 42 U.S.C. § 2000aa(b)(1).

       72.     Chief Cody did not explain in his post how there could have been probable cause

to believe that Ms. Gruver had committed identity theft, or any other crime.

       73.     Chief Cody also failed to acknowledge K.S.A. 60-483 in his post, which provides

that a journalist shall be entitled to a hearing when asserting a claim of privilege for any

information gathered, received or processed.

       74.     Contrary to Chief Cody’s statement that the department would be “vindicated,”

Marion County Attorney Ensey announced in a release on Wednesday, August 16 th that he was

                                                                      12
      Case 6:23-cv-01179-DDC-BGS Document 1 Filed 08/30/23 Page 13 of 19




withdrawing the August 11 warrants and had asked the court to release the evidence seized so that

it could be returned to the owners of the property by law enforcement.

       75.     In support of his determination, County Attorney Ensey stated in the release: “I

have come to the conclusion that insufficient evidence exists to establish a legally sufficient nexus

between this alleged crime and the places searched and the items seized.”

       76.     The Kansas Bureau of Investigation announced in an August 16, 2023, release that

the investigation into the underlying data breach would continue under its jurisdiction, without

review or examination of any of the evidence seized on Friday, August 11, 2023.

                          THE PARTIES, JURISDICTION & VENUE

       Plaintiff hereby adopts by reference paragraphs one through seventy-six (1-76) inclusive,

and, in addition, further states and alleges:

       77.     Plaintiff, DEB GRUVER (“plaintiff Gruver” or “Ms. Gruver”) is an adult

individual and a citizen of Kansas, residing in Wichita, Sedgwick County.

       78.     Defendant,     CHIEF      GIDEON       CODY,     MARION,       KANSAS        POLICE

DEPARTMENT (“Chief Cody” or “defendant Cody”), was at all times relevant herein, and

remains at the time of this filing the Chief of the Marion, Kansas Police Department. Chief Cody

is a citizen of the State of Kansas and upon belief maintains his principal residence in Marion

County, Kansas.     Chief Cody is being sued in his individual capacity for plaintiff Gruver’s 42

U.S.C. § 1983 claims. Chief Cody may be served with process personally.

       79.     Jurisdiction of this action is conferred by 28 U.S.C. § 1331, which provides original

“federal question” jurisdiction over all civil actions arising under the United States Constitution

and laws or treaties of the United States. Jurisdiction is further conferred by 28 U.S.C. §

1343(a)(3), which provides for original jurisdiction in suits authorized by 42 U.S.C. § 1983.



                                                 13
      Case 6:23-cv-01179-DDC-BGS Document 1 Filed 08/30/23 Page 14 of 19




       80.     Plaintiff Gruver’s claims for damages herein are authorized by: (1) 42 U.S.C. §

1983, which provides for redress for the deprivation under color of any statute, ordinance,

regulation, custom or usage of any state or territory of any rights, privileges or immunities secured

to all the citizens or persons within the jurisdiction of the United States; (2) the First Amendment

of the United States Constitution, which protects freedom of speech and the press; (3) the Fourth

Amendment of the United States Constitution, which protects the right of people to be secure in

their persons, houses, papers, and effects, against unreasonable searches and seizures; (4) 42

U.S.C. § 1988, which allows the prevailing party to collect a reasonable attorney’s fee as costs in

any action or proceeding to enforce 42 U.S.C. § 1983.

       81.     Venue is proper in the U.S. District Court for the District of Kansas under 28 U.S.C.

§ 1391(b)(1) & (2), as defendant Cody is a citizen of Marion, Kansas and the events giving rise to

plaintiff Gruver’s claims occurred in Marion, Kansas.

       82.     This action asserts no claims under the Kansas Tort Claims Act and thus the notice

provisions of K.S.A. 12-105b(d) are inapplicable.

  FIRST COUNT: Violation of Plaintiff Gruver’s Rights under the First Amendment of the
                   United States Constitution & 42 U.S.C. § 1983

       Plaintiff hereby adopts by reference paragraphs one through eighty-two (1-82) inclusive,

and, in addition, further states and alleges:

       83.     Under 42 U.S.C. § 1983, a person may recover damages for a deprivation of his or

her constitutionally protected rights when that injury is inflicted under color of state law. Chief

Cody acted in his individual capacity as Chief of the Marion, Kansas Police Department under

color of state law when he signed an unreasonable and unlawful Application for Search Warrant

and executed on an unreasonable and unlawful Search Warrant on August 11, 2023.




                                                 14
     Case 6:23-cv-01179-DDC-BGS Document 1 Filed 08/30/23 Page 15 of 19




          84.   The Application was facially invalid in that it contended a search on a public-facing

governmental website was illegal and contradicted the federal and/or state laws protecting

journalists from search and seizure of journalistic materials.

          85.   The Application and Warrant were substantively invalid as existing evidence did

not establish a legally sufficient nexus between the alleged crime and the places searched and items

seized.

          86.   In executing on the unreasonable and unlawful Search Warrant, Chief Cody

exceeded the scope of the warrant by seizing Ms. Gruver’s personal cellular phone from her

person, despite the fact that neither Ms. Gruver nor her personal cellular phone were referenced

anywhere in the Application or Warrant, there was no evidence to suggest that the seized property

was evidence of a crime, there was no evidence to establish that the personal cellular phone had

been used to access the Kansas Department of Revenue records website, the scope of the warrant

only authorized at most a preview to exclude the personal cellular phone from seizure, and Kansas

law established that a person’s mere nearness to others independently suspected of criminal

activity does not, without more evidence, give rise to probable cause to search that person.

          87.   In seizing Ms. Gruver’s personal cellular phone despite the seizure exceeding the

scope of the unreasonable and unlawful search warrant, Chief Cody acted in unreasonable and

unnecessarily violent fashion, causing injury to plaintiff’s Gruver’s rights and her person.

          88.   Such acts were done by Chief Cody in retaliation for Ms. Gruver exercising her

protected rights under the First Amendment of the United States Constitution as a reporter for the

Record, which protects freedom of speech and freedom of the press.

          89.   Upon belief, Ms. Gruver’s affiliation with the Marion County Record, which had

investigated his alleged prior acts of misconduct and recently published the story about Ms.



                                                 15
      Case 6:23-cv-01179-DDC-BGS Document 1 Filed 08/30/23 Page 16 of 19




Newell’s prior driving history, sparked Chief Cody’s desire for retaliation against her personally,

in violation of her First Amendment rights.

          90.    Defendant Cody is liable in his individual capacity for his conduct violating Ms.

Gruver’s constitutional rights. Because his action was malicious and recklessly indifferent to

plaintiff Gruver’s federally protected rights, he may be subjected to punitive damages.

          91.    Chief Cody’s unlawful and unreasonable Applications, Warrants, searches and

seizures at the homes of Eric & Joan Meyer and Ruth Herbel are further evidence of his malicious

intent.

          92.    As a direct and proximate result of defendant Cody’s conduct violating Ms.

Gruver’s constitutional rights, plaintiff Gruver has sustained damages, including, but not limited

to, emotional distress, mental anguish and physical injury. Defendant Cody’s malicious and

recklessly indifferent acts justify an award of punitive damages.

 SECOND COUNT: Violation of Plaintiff Gruver’s Rights under the Fourth Amendment of
               the United States Constitution & 42 U.S.C. § 1983

          Plaintiff hereby adopts by reference paragraphs one through ninety-two (1-92) inclusive,

and, in addition, further states and alleges:

          93.    Under 42 U.S.C. § 1983, a person may recover damages for a deprivation of his or

her constitutionally protected rights when that injury is inflicted under color of state law. Chief

Cody acted in his individual capacity as Chief of the Marion, Kansas Police Department under

color of state law when he signed an unreasonable and unlawful Application for Search Warrant

and executed on an unreasonable and unlawful Search Warrant on August 11, 2023.

          94.    The Application was facially invalid in that it contended a search on a public-facing

governmental website was illegal and contradicted the federal and/or state laws protecting

journalists from search and seizure of journalistic materials.

                                                  16
     Case 6:23-cv-01179-DDC-BGS Document 1 Filed 08/30/23 Page 17 of 19




          95.   The Application and Warrant were substantively invalid as existing evidence did

not establish a legally sufficient nexus between the alleged crime and the places searched and items

seized.

          96.   In executing on the unreasonable and unlawful Search Warrant, Chief Cody

exceeded the scope of the warrant by seizing Ms. Gruver’s personal cellular phone from her

person, despite the fact that neither Ms. Gruver nor her personal cellular phone were referenced

anywhere in the Application or Warrant, there was no evidence to suggest that the seized property

was evidence of a crime, there was no evidence to establish that the personal cellular phone had

been used to access the Kansas Department of Revenue records website, the scope of the warrant

only authorized at most a preview to exclude the personal cellular phone from seizure, and Kansas

law established that a person’s mere nearness to others independently suspected of criminal

activity does not, without more evidence, give rise to probable cause to search that person.

          97.   In seizing Ms. Gruver’s personal cellular phone despite the seizure exceeding the

scope of the unreasonable and unlawful search warrant, Chief Cody acted in unreasonable and

unnecessarily violent fashion, causing injury to plaintiff’s Gruver’s rights and her person.

          98.   Such acts were done by Chief Cody in violation of Ms. Gruver’s protected rights

under the Fourth Amendment of the United States Constitution, which protects citizens from

unreasonable and unlawful searches and seizures.

          99.   No reasonable officer in Chief Cody’s position would have believed the seizure of

Ms. Gruver’s personal cellular phone constitutionally complied with the Fourth Amendment of the

United States Constitution.




                                                17
      Case 6:23-cv-01179-DDC-BGS Document 1 Filed 08/30/23 Page 18 of 19




          100.   Defendant Cody is liable in his individual capacity for his conduct violating Ms.

Gruver’s constitutional rights. Because his action was malicious and recklessly indifferent to

plaintiff Gruver’s federally protected rights, he may be subjected to punitive damages.

          101.   Chief Cody’s unlawful and unreasonable Applications, Warrants, searches and

seizures at the homes of Eric & Joan Meyer and Ruth Herbel are further evidence of his malicious

intent.

          102.   As a direct and proximate result of defendant Cody’s conduct violating Ms.

Gruver’s constitutional rights, plaintiff Gruver has sustained damages, including, but not limited

to, emotional distress, mental anguish and physical injury. Defendant Cody’s malicious and

recklessly indifferent acts justify an award of punitive damages.

                                     PRAYER FOR RELIEF

          WHEREFORE, plaintiff DEBBIE K. “DEB” GRUVER prays for damages against the

defendant as follows: (1) compensatory damages in excess of $75,000.00; (2) punitive damages in

excess of $75,000.00; and (3) costs, expenses and reasonable attorney’s fees pursuant to K.S.A.

42 U.S.C. § 1988. Plaintiff further requests any other relief the Court deems just and equitable.

                                 DEMAND FOR JURY TRIAL

          Plaintiff DEBBIE K. “DEB” GRUVER hereby demands a trial by jury. Pursuant to D.

Kan. Local R. 40.2, plaintiff will file a Designation of Place of Trial contemporaneous to the filing

of her Complaint, designating Wichita, Kansas as the Place of Trial.




                                                 18
Case 6:23-cv-01179-DDC-BGS Document 1 Filed 08/30/23 Page 19 of 19




                              Respectfully submitted,

                              HUTTON & HUTTON

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                                19
